Case 1:17-cv-00493-JAO-RT Document 218-2 Filed 09/27/24 Page 1 of 2 PageID.6419



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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAIʻI

  HEIDI PURCELL, M.D., FACOG, et al.
                      Plaintiffs,
                                            CIVIL ACTION
  v.
  XAVIER BECERRA, J.D., in his              Case No. 1:17-cv-00493-JAO-RT
  official capacity as SECRETARY,
                                            CERTIFICATE OF SERVICE
  U.S. D.H.H.S., et al.,

                      Defendants.
Case 1:17-cv-00493-JAO-RT Document 218-2 Filed 09/27/24 Page 2 of 2 PageID.6420



                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 27, 2024, true and

 correct copies of the foregoing documents were electronically transmitted to the

 Clerk’s Office using the CM/ECF System, which will notify all counsel of record

 of such filing.

       DATED: Honolulu, Hawaii, September 27, 2024

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